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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                        NORTHERN DIVISION

ROBERT M. SMITH                                                   PLAINTIFF

V.                         NO. 3:23-CV-00212-JTK

SOCIAL SECURITY ADMINISTRATION                                 DEFENDANT

                                  JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that this case is DISMISSED with prejudice.

Judgment is entered in favor of the Defendant.

      DATED this 2nd day of July, 2024.



                                      ___________________________________
                                      UNITED STATES MAGISTRATE JUDGE
